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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

CHRISTOPHER VILLANUEVA,

                 Plaintiff,

v.                                            CASE NO. 4:14cv142-RH/CAS

MICHAEL D. CREWS, etc., et al.,

          Defendants.
________________________________/


                              ORDER DENYING AS MOOT THE
                            PRELIMINARY-INJUNCTION MOTION


        As set out on the record of the hearing on March 27, 2014, the parties have

reached an agreement rendering moot the plaintiff’s motion for a preliminary

injunction and attendant motion for a writ of habeas corpus ad testificandum. The

plaintiff may renew the motion at any time and incorporate by reference materials

submitted in support of the original motion. For these reasons,

        IT IS ORDERED:

        The motion for a preliminary injunction, ECF No. 3, and the petition for a

writ of habeas corpus ad testificandum, ECF No. 4, are DENIED AS MOOT.

        SO ORDERED on March 27, 2014.

                                        s/Robert L. Hinkle
                                        United States District Judge

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